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     Exhibit A –
  Declaration of Scott
        Carney
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 4   :nC\\ ./i~; . ~ ,.~, . ~ fl,·:· ·  .co rn
 5   Attorneys for Defendant Scott Carney
                                    UNITED STATES DISTRICT COURT
 6
 7                                          DISTRICT OF NEVADA

 8    INTERNATIONAL MARKETS LIVE, INC., a                    Case No.: 2:18-cv-00187-JAD-GWF
      New York       corporation; CHRISTOPHER
 9    TERRY, an individual;
                                                              DECLARATION BY DEFENDANT SCOTT
10     Plaintiffs                                                  CARNEY IN SUPPORT OF
                                                               MEMORANDUM OF LAW IN SUPPORT
11    vs.
                                                                             OF
12     ROBERT HALTERMAN, an individual;                         MOTION TO DISMISS PLAINTIFF'S
       SCOTT CARNEY, an individual; ETHAN                               COMPLAINT
13     V ANDERBUILT, an individual;

14     Defendants.
15
16
            I, Scott Carney, declare as follows:
17
            1.       I live in Miami, Florida, and that is my sole residence.
18

19          2.       I do not have any businesses in Nevada.

20          3.       I have no offices in Nevada.
21
            4.       I own no property in Nevada.
22
            5.       I have no employees in Nevada.
23

24
            6.       I have no bank accounts in Nevada.

25          7.       I do not direct or target any activities to Nevada.

            8.       I do not have any connections to Nevada outside of my legal counsel.




                                                 MOTION TO DISMISS· I
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            9.     I am disabled and wheelchair bound, and commuting to court in Las Vegas,
1
2    Nevada, would be inconvenient for me to attend any hearings or trial.

3           10.    No Nevada court has ever found to have personal jurisdiction over me, and I
4
     have never been served in Nevada.
5
            Pursuant to 28 USC § 1746, I hereby declare under penalty of peijury under the laws
 6
     of the United States of America that the foregoing is true and correct and is based upon my
 7
8    personal knowledge.

9
10                      ' \

            Dated: May·-r, 2018
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                                                          Sco     arney
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                                               MOTION TO DISMISS- 2
